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  Attorneys for Josias N. Dewey,
  Court-Appointed Temporary Receiver

                       IN THE UNITED STATES DISTRICT COURT
                       DISTRICT OF UTAH, NORTHERN DIVISION

   SECURITIES AND EXCHANGE                    MOTION FOR CONTEMPT AND FOR
   COMMISSION,                                SANCTIONS TO BE ENTERED
                                              AGAINST DEFENDANTS JASON R.
          Plaintiff,
                                              ANDERSON, JACOB S. ANDERSON,
   v.                                         SCHAD E. BRANNON, AND ROYDON B.
                                              NELSON
   DIGITAL LICENSING INC. (d/b/a
   “DEBT Box”), a Wyoming corporation;
   JASON R. ANDERSON, an individual;
   JACOB S. ANDERSON, an individual;          Case No. 2:23-cv-00482-RJS-DBP
   SCHAD E. BRANNON, an individual;
   ROYDON B. NELSON, an individual;           Judge Robert J. Shelby
   JAMES E. FRANKLIN, an individual;          Magistrate Judge Dustin B. Pead
   WESTERN OIL EXPLORATION
   COMPANY, INC., a Nevada corporation;
   RYAN BOWEN, an individual; IX
   GLOBAL, LLC, a Utah limited liability
   company; JOSEPH A. MARTINEZ, an
   individual; BENJAMIN F. DANIELS, an
   individual; MARK W. SCHULER, an
   individual; B & B INVESTMENT
   GROUP, LLC (d/b/a “CORE 1
   CRYPTO”), a Utah limited liability
   company; TRAVIS A. FLAHERTY, an
   individual; ALTON O. PARKER, an
   individual; BW HOLDINGS, LLC (d/b/a
   the “FAIR PROJECT”), a Utah limited
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      liability company; BRENDAN J.
      STANGIS, an individual; and MATTHEW
      D. FRITZSCHE, an individual,
            Defendants,

      ARCHER DRILLING, LLC, a Wyoming
      limited liability company; BUSINESS
      FUNDING SOLUTIONS, LLC, a Utah
      limited liability company; BLOX LENDING,
      LLC, a Utah limited liability company;
      CALMFRITZ HOLDINGS, LLC, a Utah
      limited liability company; CALMES & CO,
      INC., a Utah corporation; FLAHERTY
      ENTERPRISES, LLC, an Arizona limited
      liability company; IX VENTURES FZCO, a
      United Arab Emirates company; PURDY
      OIL, LLC, a Nebraska limited liability
      company; THE GOLD COLLECTIVE LLC,
      a Utah limited liability company; and UIU
      HOLDINGS, LLC, a Delaware limited
      liability company,

            Relief Defendants.

           Josias N. Dewey, the Court-appointed Temporary Receiver (the “Receiver”) for Defendant

  Digital Licensing Inc. (“DLI”) and its subsidiaries and affiliates (collectively, the “Receivership

  Entities”), respectfully moves this Court for an order holding Defendants Jason R. Anderson, Jacob

  S. Anderson, Schad E. Brannon, and Roydon B. Nelson (collectively, “DEBT Council

  Defendants”) in contempt and to enter sanctions against them.

                                            RELIEF SOUGHT

           The Receiver seeks an order from this Court holding the DEBT Council Defendants in

  contempt of its July 28, 2023 Temporary Restraining Order (“TRO”) [ECF No. 9] 1 and

  Temporary Receivership Order (the “Receivership Order”) [ECF No. 10] (together, the

  “Orders”), and sanctioning them as outlined below, based on their failures to cooperate with the


  1
   The Court renewed the TRO on August 7, 2023 [ECF No. 33]; August 17, 2023 [ECF No. 78]; August 29, 2023
  [ECF 121]; and September 12, 2023 [ECF No. 136].

                                                      1
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  Receiver, to turn books and records over to the Receiver, and attempts to foreclose on and sell

  assets subject to the Orders.

                                           BACKGROUND

         On July 26, 2023, the Securities and Exchange Commission (“SEC”) filed a Complaint

  against numerous Defendants (including the DEBT Council Defendants) and Relief Defendants,

  bringing claims under the Securities Act of 1933 and Exchange Act of 1934, and for equitable

  disgorgement. [ECF No. 1]. The Court issued the TRO and Receivership Order on July 28, 2023.

  Since his appointment, the Receiver and his team of attorneys and professionals have undertaken

  extensive efforts to identify, marshal, and secure information and assets belonging to the

  Receivership Entities. The scope of work has been expansive, encompassing: (i) real-world and

  digital assets located in multiple jurisdictions within and outside of the United States; (ii) related

  parties purportedly involved in varying industries; and (iii) nearly twenty ancillary actions

  involving Receivership Entities or their assets. However, as detailed more herein, the DEBT

  Council Defendants have failed to cooperate with the Receivership Team’s efforts, or have

  violated the TRO or Receivership Order in multiple respects.

                                  ARGUMENT AND AUTHORITIES

  I.     Relevant Provisions of the Orders

         The Receivership Order outlines the authority vested in the Receiver and several court-

  ordered obligations of the DEBT Council Defendants. The Receiver has “full power over all funds,

  assets, collateral, premises (whether owned, leased, occupied, or otherwise controlled), choses in

  action, books, records, papers and other property belonging to, being managed by or in the

  possession of or control of” the Receivership Entities (collectively, the “Assets”). (Receivership

  Order, Section II). As Receiver, upon entry of the Receivership Order, Mr. Dewey was

  “immediately authorized, empowered and directed” to, among other things, acquire access to and
                                                    2
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  collect books, records, papers, and other real or personal property of or managed by the

  Receivership Entities. (Id. at Section II.A).

         The Receivership Order imposes obligations on several persons—including the DEBT

  Council Defendants—concerning, among other things, turning over books and records to the

  Receiver. Specifically, the Receivership Entities “and their officers, agents, servants, employees

  and attorneys, and any other persons who are in custody, possession or control of any

  assets…collateral, books, records, papers or other property of or managed by any of the entities in

  receivership, shall forthwith give access to and control of such property to the receiver.” (Id. at

  Section III, hereinafter “Turnover Provision”) (emphasis added).

         Furthermore, any person who receives actual notice of the Receivership Order who holds,

  possesses, or controls, among other things, any account passwords pertaining in any manner to any

  assets of any of the Defendants had five days to turnover such information to the Receiver. (Id. at

  Section IV, hereinafter “Password Provision”).

         Moreover, the Receivership Order specifically limits parties from engaging in any process

  “for the purpose of impounding or taking possession of or interfering with or creating or enforcing

  a lien upon any property or property interests owned by or in the possession of [DLI].” (Id. at

  Section VI.B, hereinafter “Lien Provision”). Similarly, the TRO specifically enjoins and restrains,

  among others, the DEBT Council Defendants, Relief Defendant Blox, and those parties’ respective

  owners and attorneys from otherwise encumbering or disposing of any asset, whether such asset

  is specifically enumerated in the TRO or not. (TRO at Sections VIII and IX).

         The Receivership Order also mandates that the Receivership Entities and their “officers,

  agents, servants, employees, and attorneys, shall cooperate with and assist the [R]eceiver, and shall

  take no action, directly or indirectly, to hinder, obstruct, or otherwise interfere with the receiver or



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  his attorneys, accountants, employees, or agents, in the conduct of the receiver’s duties or to

  interfere in any manner, directly or indirectly, with the custody, possession, management, or

  control by the receiver of the funds, assets, collateral, premises, and choses in action described

  above.” (Receivership Order, Section VII, hereinafter “Cooperation Provision”).

  II.    Applicable Law and Contempt in SEC Enforcement Actions Involving Receivers

         The primary purpose of civil contempt is “to compel obedience of the court order or to

  compensate the litigant for injuries sustained from the disobedience.” Ager v. Jane C. Stormont

  Hosp. & Training Sch. for Nurses, 622 F.2d 496, 499–500 (10th Cir. 1980). 18 U.S.C. § 401

  provides, in relevant part, that federal courts “shall have power to punish by fine or

  imprisonment, or both, at its discretion, such contempt of its authority, and none other, as . . .

  [d]isobedience or resistance to its lawful writ, process, order, rule, decree, or command.” See

  also S.E.C. v. Bliss, No. 15-cv-00098, 2015 WL 4877332, at *6 (D. Utah Aug. 14, 2015)

  (Shelby, J.) (“[It is] well established that federal courts have the power to punish contemnors.”).

  Indeed, the court’s “interest in ensuring a party’s compliance with its orders is a great one.”

  United States v. Rapower-3, LLC, 470 F. Supp. 3d 1232, 1248 (D. Utah 2020) (citation omitted).

  Furthermore, courts possess “inherent authority” to “manage their own affairs,” including the

  power to impose contempt sanctions. See Chambers v. NASCO, Inc., 501 U.S. 32, 43–44 (1991).

  The “power to punish for contempt[]” applies to “both conduct before the court and that beyond

  the court’s confines[.]” Id. at 43 (citation omitted).

         “It is well-settled that a district court has broad discretion in using its contempt power to

  require adherence to court orders.” S.E.C. v. Novus Techs., LLC, No. 07-CV-00235, 2008 WL

  623765, at *2 (D. Utah Mar. 4, 2008) (quoting Consumers Gas & Oil, Inc. v. Farmland Indus.,

  Inc.¸ 84 F.3d 367, 370 (10th Cir. 1986)). Courts routinely issue civil contempt sanctions for

  violations of orders issued in SEC equity receivership proceedings, including the initial order
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  appointing a receiver. See Rapower-3, 470 F. Supp. 3d at 1248–51 (issuing civil contempt

  sanctions for individuals’ failure to provide documents and information to the receiver); S.E.C. v.

  Faulkner¸ No. 16-CV-1735, 2018 WL 888910, at *9 (N.D. Tex. Feb. 13, 2018) (issuing civil

  contempt sanctions for failure to “turn over all documents related to the Receivership Assets and

  to cooperate with the Receiver in the performance of his duties”); Bliss, 2015 WL 4877332, at *7–

  8 (issuing civil contempt sanctions against defendant who violated an order appointing receiver by

  failing to disclose assets); Novus Techs., 2008 WL 623765, at *5–7 (contempt sanctions proper for

  violation of order requiring disgorgement of funds of the receivership estate).

           In a civil-contempt proceeding, the movant “has the burden by proving, by clear and

  convincing evidence, that a valid court order existed, that the defendant had knowledge of the

  order, and that the defendant disobeyed the order.” 2 Reliance Ins. Co. v. Mast Constr. Co., 159

  F.3d 1311, 1315 (10th Cir. 1998). If a movant succeeds, the burden shifts to the defendant to

  provide evidence showing “categorically and in detail” either compliance with the court order or

  an inability to comply. United States v. Rylander, 460 U.S. 752, 755 (1983); United States v. Ford,

  514 F.3d 1047, 1051 (10th Cir. 2008). As detailed below, the Receiver satisfies his burden for this

  court to hold the DEBT Council Defendants in contempt.

  III.     The Orders are Valid and the DEBT Council Defendants Knew About Them Before
           Violating Them

           The Receiver satisfies the first two elements for contempt because the Orders are valid and

  enforceable, and the DEBT Council Defendants knew they had been entered when they violated

  them. The Orders each explain the legal basis for the relief granted (inter alia, 15 U.S.C. § 77t(b)




  2
   Willfulness is not an element of civil contempt. See, e.g., Rapower-3, 470 F. Supp. 3d at 1248. Similarly, although
  subjective intent is not always irrelevant, “parties cannot be insulated from a finding of civil contempt based on their
  subjective good faith, [which] … relies too heavily on difficult-to-prove states of mind.” Taggart v. Lorenzen, 139
  S. Ct. 1795, 1802-03 (2019).

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  and 15 U.S.C. § 78u(b)). The TRO concludes that good cause exists to believe that, unless

  restrained, Defendants and Relief Defendants will dissipate, conceal, or transfer assets which could

  be the subject to an order directing disgorgement or the payment of civil money penalties in this

  action. The Receivership Order concludes that the SEC established “good cause” to appoint the

  Receiver. See Receivership Order at pp. 2-3(B), (C). 3

           In addition, the DEBT Council Defendants knew about the Orders before violating them.

  On August 2, 2023, the SEC served the Orders on the DEBT Council Defendants by personal

  service via process server. [ECF Nos. 37-50]. Furthermore, the Court unsealed the Orders on

  August 2, 2023. [ECF No. 14]. Finally, counsel for the DEBT Council Defendants appeared in this

  action August 16, 2023. [ECF Nos. 68–69].

  IV.      The DEBT Council Defendants Violated—and Continue to Violate—the Orders

           A.       Failure to Comply with Turnover, Password, and Cooperation Provisions

           The Receivership Order’s Turnover Provisions specifically note that the Receiver has

  power and authority over, among other things, all of the Receivership Entities’ books and records.

  (Receivership Order, Section II.A). Furthermore, the Turnover Provisions are unambiguous that

  the DEBT Council Defendants must turnover “forthwith” all books and records (among other

  things). (Id., Section III). Although the Receiver has discovery authority (Id., Section II.D), the

  Receiver has undertaken good faith attempts to secure the DEBT Council Defendants’ compliance

  with the Orders without the need for formal discovery. They have refused.




  3
    Furthermore, this Court has personal and subject matter jurisdiction over this Action. See Receivership Order at p.
  2(A); see also Auto Owners Ins. Co. v. Summit Park Townhome Ass’n, 886 F.3d 863, 867 (10th Cir. 2018) (“There
  is impressive authority for the proposition that an order issued by a court with jurisdiction over the subject matter
  and person must be obeyed by the parties until it is reversed by orderly and proper proceedings.”) (citation and
  internal quotations omitted); see also Bliss, 2015 WL 4877332, at *7 (noting that the validity of an Order
  Appointing Receiver was “undisputed”).

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           Between August 7, 2023 and August 29, 2023, counsel for the Receiver made no less than

  eight requests for compliance with the Orders. See Exhibits 1-8. Furthermore, on August 19, 2023,

  the Receiver sent a detailed list of outstanding information to counsel for the DEBT Council

  Defendants, outlining a sample of the outstanding information, including financial statements,

  assets and liabilities, employees, service providers, communications channels, and lists of law

  firms and outstanding litigation related to the Receivership Entities. 4 Exhibit 4 (“August 19

  Letter”). Despite several self-serving claims of diligent information and document collection, the

  DEBT Council Defendants have not turned over any books and records or other requested

  information covered by the Receiver’s August 19 Letter.

           More broadly, the Receiver has collected over 15,000 documents from several sources,

  many of which were identified without the aid of any information from the DEBT Council

  Defendants, the most knowledgeable parties about the operations of the Receivership Entities. The

  total number of documents produced by the DEBT Council Defendants to date: less than 20. The

  DEBT Council Defendants have further impeded the Receiver’s ability to carry out his obligations

  by not only refusing to comply with the Turnover provisions, but also by not agreeing to sit for

  interviews.

           Furthermore, the DEBT Council Defendants have refused to turn over critical passwords

  for the Receiver to operate the Receivership Entities. Among other things, the DEBT Council

  Defendants have refused to turn over passwords to DLI’s primary website (www.thedebtbox.com)



  4
    Notably, among the numerous misleading and inaccurate statements in the Motion to Dissolve TRO and Modify
  Receivership Order to Appoint a New Receiver [ECF 132] the DEBT Council Defendants claim that the Receiver has
  failed to secure certain oil-and-gas assets. As reflected in FN 2 to our August 19, 2023 correspondence:
  “Notwithstanding your production of select limited materials and iterative correspondence this week, your clients
  cannot unilaterally direct, allow, authorize, or require the Receiver to take any action with regard to purported DLI oil
  and gas interests or those purportedly belonging to any other entity or individual. This is especially true in light of
  pending litigation relating to the ownership and control of such interests.” The DEBT Council Defendants did not
  produce any additional evidence or documents on purported oil-and-gas assets after August 18, 2023.

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  and have not provided any passwords for relevant email and other communication accounts they

  continue to use.

           B.       Violations of the Lien Provision and TRO

           DEBT Council Defendant Jason Anderson is Blox’s registered agent, sole managing

  member, and authorized signatory for all five of Blox’s bank accounts (with his brother Defendant

  Jacob Anderson being the only other authorized signatory). See Dewey Dec. at ¶ 48; Ex. 4 [ECF

  No. 125]. Blox’s principal place of business is in the same building as Digital Licensing, Inc. See

  id. at ¶ 49.

           The DEBT Council Defendants and Blox have asserted in this action and elsewhere that

  DLI owns a majority interest in Relief Defendant Archer Drilling, LLC (“Archer”) and, by

  extension, that DLI owns Archer’s assets. For example, in pre-Receivership litigation against

  Archer still pending in Nebraska (the “Nebraska Litigation”) 5, DLI argues that a “renegotiated”

  Operating Agreement, executed on August 18, 2022, granted DLI a 51% ownership interest in

  Archer. See Exhibit 9. In that action, DLI also claims an ownership interest in certain of Archer’s

  oil and gas rigs because they were “purchased 100% with funds provided, directly, or indirectly,

  by DLI.” See id. at ¶7. In fact, bank records demonstrate that DLI funds were indeed utilized

  directly or indirectly to purchase oil and gas rigs.

           On May 12, 2022, Blox sent $454,410 to a title insurance company, with the transaction

  description “6179 Road 206 Pine Bluffs, WY 82082 File # 4521-3902122.” See Exhibit 10. On

  May 12, 2022, Archer signed a promissory note to Blox for $504,900, in connection with the

  purchase of property at 6179 Road 206 in Pine Bluffs, Wyoming (the “Property”). See id. On May


  5
   The Nebraska Litigation is captioned Purdy Oil, LLC, et al. v. Digital Licensing, Inc., et al., Case No. 23-01 and is
  pending the District Court of Kimball County, Nebraska. On August 14, 2023, former counsel for DLI filed a Notice
  of Appointment of the Temporary Receiver and on September 1, 2023, the Temporary Receiver moved to stay the
  Nebraska Litigation pending further Order of this Court. The motion is pending.

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  12, 2022, Archer resolved to purchase the Property. See Ex. 11. Blox is mortgagor of the Property,

  and Archer is mortgagee. See Ex. 12.

         The Property—an asset owned by a Relief Defendant (Archer) and subject to a mortgage

  held by another Relief Defendant (Blox)—is subject to the TRO’s asset freeze and cannot be sold,

  transferred, encumbered, or otherwise changed. Moreover, the Lien Provision of the Receivership

  Order specifically prohibits any party from enforcing a lien upon any property or property interests

  owned by or in the possession of DLI. Notably, the DEBT Council Defendants own

  correspondence advocates that property owned by Archer is synonymous with property owned by

  DLI. See Ex. 13.

         Nevertheless, on August 22, 2023, after being served with the Orders and appearing in this

  action, Blox delivered a Notice of Default and Intent to Foreclose (the “Foreclosure Notice”) on

  the Property to Archer, care of Debt Council Defendant Schad Brannon. See Ex. 14. The Receiver

  learned of this event, and the underlying attempts to violate the TRO and the Lien Provision—

  attempts that may be ongoing—because the Foreclosure Notice was provided as part of DLI’s

  registered agent materials. The Receiver has attempted, unsuccessfully, to determine who is

  causing Blox to foreclose on, and attempt to sell, the Property.

                                           CONCLUSION

         For the foregoing reasons, the Receiver respectfully requests that the Court enter an Order

  holding: (i) the DEBT Council Defendants, Jason R. Anderson, Jacob S. Anderson, Schad E.

  Brannon, and Roydon B. Nelson, in contempt of this Court’s July 28, 2023 TRO and Receivership

  Order; (ii) ordering each of the DEBT Council Defendants to comply with the TRO and

  Receivership Order within no more than 14 calendar days of entry of the requested Order; (iii)

  ordering the Receiver to report the status of each of the DEBT Council Defendants’ compliance



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  with the TRO and Receivership Order 15 calendar days from entry of the requested Order; (iv)

  ordering the DEBT Council Defendants, jointly and severally, to pay the Receiver’s attorneys’

  fees and costs incurred in preparing and filing this Motion; and (v) issuing any other relief it finds

  just and proper.



  DATED this 13th day of September 13, 2023.



                                                 MCNEILL | VON MAACK


                                                 /s/ Jason A. McNeill
                                                 Jason A. McNeill
                                                 Eric K. Schnibbe

                                                 HOLLAND & KNIGHT

                                                 Jessica B. Magee
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                                                 Andrew W. Balthazor


                                                 Attorneys for Josias N. Dewey,
                                                 Court-Appointed Temporary Receiver




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                                  CERTIFICATE OF SERVICE

         I hereby certify that I am employed by the law firm of MCNEILL VON MAACK and that

  pursuant to Rule 5(b), Federal Rules of Civil Procedure, a true and correct copy of the foregoing

  MOTION FOR CONTEMPT AND FOR SANCTIONS TO BE ENTERED AGAINST

  DEFENDANTS JASON R. ANDERSON, JACOB S. ANDERSON, SCHAD E. BRANNON,

  AND ROYDON B. NELSON was delivered to counsel of record this 13th day of September,

  2023, by filing of the same through the Court’s CM/ECF System.

  [ ]    Hand Delivery

  [ ]    Depositing the same in the U.S. Mail, postage prepaid

  [ ]    Electronic Mail

  [X]    Submission to the U.S. District Court Electronic Case Filing System




                                               /s/ Camille Coley




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